                                                  Entered on Docket
                                                  March 28, 2018
                                                  EDWARD J. EMMONS, CLERK
                                                  U.S. BANKRUPTCY COURT
                                                  NORTHERN DISTRICT OF CALIFORNIA


  1 SHEPPARD, MULLIN, RICHTER &
    HAMPTON LLP
  2    A Limited Liability Partnership
       Including Professional Corporations Signed and Filed: March 22, 2018
  3 ORI KATZ,
    Cal. Bar No. 209561
  4 J. BARRETT MARUM,
    Cal. Bar No. 228628
  5 MICHAEL M. LAUTER,
    Cal. Bar No. 246048                     ________________________________________
  6 Four Embarcadero Center, 17th Floor HANNAH L. BLUMENSTIEL
    San Francisco, California 94111-4109 U.S. Bankruptcy Judge
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 10
    Proposed Counsel for the Debtor,
 11 MedCision, LLC

 12
                                      UNITED STATES DISTRICT COURT
 13
                                    NORTHERN DISTRICT OF CALIFORNIA
 14
                                         SAN FRANCISCO DIVISION
 15

 16 In re:                                                      Chapter 11

 17 MedCision, LLC
      f/k/a BioCision, LLC,                                     Case No. 17-31272
 18
                         Debtor.                                ORDER AUTHORIZING THE
 19                                                             RETENTION OF KYLE EVERETT OF
                                                                DEVELOPMENT SPECIALISTS, INC.
 20                                                             AS ITS CHIEF RESTRUCTURING
                                                                OFFICER
 21
                                                               Date:     March 22, 2018
 22                                                            Time:     10:00 a.m.
                                                               Judge:    Hon. Hannah L. Blumenstiel
 23                                                            Place:    450 Golden Gate Avenue
                                                                         16th Floor, Courtroom 19
 24                                                                      San Francisco, CA 94102

 25

 26           The Application for Entry of order Authorizing the Retention of Kyle Everett of

 27 Development Specialists, Inc. As its Chief Restructuring Officer (the “Application”), filed by

 28 debtor and debtor-in-possession, MedCision, LLC (the “Debtor”) on February 22, 2018 as Docket

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  1 No. 91, came before the Court for consideration. Based upon the Court’s review of the

  2 Application, the declarations and other pleadings filed in support of the Application, and all

  3 pleadings and evidence of record in this case.

  4           IT IS HEREBY ORDERED THAT:

  5           1.         The Application is GRANTED. Capitalized terms not defined in this Order shall

  6 have the meanings given to them in the Application.

  7           2.         The terms of the Engagement Letter are approved. The Debtor is authorized to

  8 employ, as of the Conversion Date, Kyle Everett, as Chief Restructuring Officer for the Debtor on

  9 the terms set forth in the Engagement Letter and in the Application.

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 11                                          ** END OF ORDER **

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  1                                            Court Service List

  2 Registered ECF Participants

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